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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  BRANDON STEELE,

        Plaintiff,                                  CASE NO.:

  -v-

  DFS SERVICES, LLC.

        Defendant.
                                         /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

            COMES NOW Plaintiff, Brandon Steele, by and through the undersigned counsel,

  and sues Defendant, DFS SERVICES, INC., and in support thereof respectfully alleges

  violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)

  and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

  (“FCCPA”).

                                       INTRODUCTION

            1.       The TCPA was enacted to prevent companies like Defendant, DFS

  SERVICES, INC. (hereinafter, “Discover”) from invading American citizen’s privacy

  and prevent abusive “robo-calls.”

            2.       “The TCPA is designed to protect individual consumers from receiving

  intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

  S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

            3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

  scourge of modern civilization, they wake us up in the morning; they interrupt our dinner


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  at night; they force the sick and elderly out of bed; they hound us until we want to rip the

  telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

  intended to give telephone subscribers another option: telling the auto-dialers to simply

  stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256(11th Cir. 2014).

         4.      According    to   the   Federal   Communications      Commission     (FCC),

  “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

  of complaints to the FCC every month on both telemarketing and robo-calls. The FCC

  received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

  to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to Wireless

  Phones,      Federal      Communications         Commission,      (May       27,     2015),

  http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

  333676A1.pdf.

                              JURISDICTION AND VENUE

         5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

  ($75,000.00) exclusive of attorney fees and costs.

         6.      Jurisdiction and venue for purposes of this action are appropriate and

  conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

  violations of the TCPA.

         7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

  this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

  district courts shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States; and this action involves violations of


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  47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

  and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

          8.      The alleged violations described herein occurred in Pinellas County,

  Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

  as it is the judicial district in which a substantial part of the events or omissions giving

  rise to this action occurred.

                                     FACTUAL ALLEGATIONS

          9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

  Seminole, Pinellas County, Florida

          10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

          11.     Plaintiff is an “alleged debtor.”

          12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

  F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

  Cir. 2014).

          13.     Defendant is a foreign limited liability company with its principal place of

  business located at 2500 Lake Cook Road, Riverwoods, Illinois 60015 and which

  conducts business in the State of Florida through its registered agent, C T Corporation

  System, located at 1200 South Pine Island Road, Plantation, Florida 33324.

          14.     The debt that is the subject matter of this Complaint is a “consumer debt”

  as defined by Florida Statute §559.55(6).

          15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).




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          16.    Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

  four hundred (400) times in an attempt to collect an alleged debt related to a personal

  loan.

          17.    Upon information and belief, some or all of the calls the Defendant made

  to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

  system” which has the capacity to store or produce telephone numbers to be called, using

  a random or sequential number generator (including but not limited to a predictive dialer)

  or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an

  auto-dialer because of the vast number of calls he received and because he heard a pause

  when he answered his phone before a voice came on the line and/or he received

  prerecorded messages from Defendant.

          18.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

  number (727) ***-1055, and was the called party and recipient of Defendant’s calls.

          19.    Upon receipt of the calls Defendant, Plaintiff’s caller ID identified the

  calls were being initiated from, but not limited to, the following telephone number(s):

  (877) 256-2660, and when that number is called, the caller is met with an automated

  message stating “Thank you for calling Discover personal loans. Your call may be

  monitored or recorded to ensure quality customer service.”

          20.    On several occasions since the inception of the account, Plaintiff

  instructed Defendant’s agent(s) to stop calling his cellular telephone.




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         21.     In or about January 2018, Plaintiff answered a call from Defendant to his

  aforementioned cellular telephone number, was met with an extended pause, was

  eventually connected to an agent/representative of Defendant and informed the

  agent/representative that he was aware of his obligation, and respectfully requested that

  Defendant please stop calling his aforementioned cellular telephone number.

         22.     Despite clearly and unequivocally revoking any consent Defendant may

  have believed they had to call Plaintiff on his cellular telephone, Defendant continues to

  place automated calls to Plaintiff.

         23.     Each subsequent call Defendant made to Plaintiff’s aforementioned

  cellular telephone was done so without the “express consent” of Plaintiff.

         24.     Each subsequent call Defendant made to Plaintiff’s aforementioned

  cellular telephone was knowing and willful.

         25.     Additionally, on or about March 5, 2018, Plaintiff answered another call

  from Defendant, was met with an extended pause, was eventually connected to an

  agent/representative of Defendant, and explained that the he had previously requested

  they stop calling his cell phone, the calls were harassing, and again demanded that

  Defendant cease placing calls to his cellular telephone number.

         26.     Plaintiff’s numerous conversations with Defendant’s agent/representative

  wherein he demanded a cessation of calls were in vain as Defendant continues to

  bombard him with automated calls unabated.




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          27.     Defendant     intentionally harassed and abused Plaintiff on numerous

  occasions by calling several times during one day, and on back to back days, with such

  frequency has can reasonably be expected to harass.

          28.     From about January of 2018 through the filing of this Complaint,

  Defendant has placed approximately four hundred (400) actionable calls to Plaintiff’s

  aforementioned cellular telephone number.             (Please see attached Exhibit “A”

  representing a non-exclusive call log of eighty-two (82) calls from March 4, 2018 to

  March 28, 2018.)

          29.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

  cellular telephone in this case.

          30.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

  this case, with no way for the consumer, Plaintiff, or Defendant to remove the number.

          31.     Defendant’s corporate policy is structured so as to continue to call

  individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

  the calls to stop.

          32.     Defendant has numerous other federal lawsuits pending against it alleging

  similar violations as stated in this Complaint.

          33.     Defendant has numerous complaints across the country against it asserting

  that its automatic telephone dialing system continues to call despite requested to stop.




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           34.   Defendant has had numerous complaints from consumers across the

  country against it asking to not be called; however, Defendant continues to call these

  consumers.

           35.   Defendant’s corporate policy provided no means for Plaintiff to have his

  number removed from Defendant’s call list.

           36.   Defendant has a corporate policy to harass and abuse individuals despite

  actual knowledge the called parties do not wish to be called.

           37.   Not a single call placed by Defendant to Plaintiff was placed for

  “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

           38.   Defendant willfully and/or knowingly violated the TCPA with respect to

  Plaintiff.

           39.   From each and every call placed without consent by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

  intrusion upon his right of seclusion.

           40.   From each and every call without express consent placed by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of his cellular

  telephone line and cellular telephone by unwelcome calls, making the phone unavailable

  for legitimate callers or outgoing calls while the phone was ringing from Defendant’s

  calls.

           41.   From each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

  his time. For calls he answered, the time he spent on the call was unnecessary as he



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  repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

  time to unlock the phone and deal with missed call notifications and call logs that

  reflected the unwanted calls. This also impaired the usefulness of these features of

  Plaintiff’s cellular telephone, which are designed to inform the user of important missed

  communications.

         42.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

  Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

  answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

  phone and deal with missed call notifications and call logs that reflected the unwanted

  calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

  which are designed to inform the user of important missed communications.

         43.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

  Plaintiff’s cellular telephone’s battery power.

         44.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone where a voice message was left occupied space in Plaintiff’s

  telephone or network.

         45.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

  namely his cellular telephone and his cellular phone services.




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          46.     As a result of the calls described above, Plaintiff suffered an invasion of

  privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

  and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

          47.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

  forty-six (46) as if fully set forth herein.

          48.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

  for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

  notified Defendant that he wished for the calls to stop.

          49.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

  cellular telephone using an automatic telephone dialing system or prerecorded or artificial

  voice without Plaintiff’s prior express consent in violation of federal law, including 47

  U.S.C § 227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against DFS SERVICES, INC. for statutory damages, punitive

  damages, actual damages, treble damages, enjoinder from further violations of these parts

  and any other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

          50.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

  forty-six (46) as if fully set forth herein




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          51.     At all times relevant to this action Defendant is subject to and must abide

   by the laws of the State of Florida, including Florida Statute § 559.72.

          52.     Defendant has violated Florida Statute § 559.72(7) by willfully

   communicating with the debtor or any member of his or her family with such frequency

   as can reasonably be expected to harass the debtor or his or her family.

          53.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

   in other conduct which can reasonably be expected to abuse or harass the debtor or any

   member of his or her family.

          54.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

   prior and continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against DFS SERVICES, INC. for statutory damages, punitive

   damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

   of these parts and any other such relief the court may deem just and proper.

                                                 Respectfully submitted,


                                                 /s/ Shaughn C. Hill

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